                                                                                                   Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 1 of 19 PageID #: 2150




                 IN THE TWENTY-FIRST JUDICIAL CIRCUIT COURT
                          ST. LOUIS COUNTY, MISSOURI


TAMIA BANKS, et al.,

              Plaintiffs,
                                                          Case No. 18SL-CC00617-01
       v.                                                       Division No. 17

COTTER CORPORATION (N.S.L.), et al.,

               Defendants.


COTTER CORPORATION (N.S.L.),

              Third-Party Plaintiff,

       v.

MALLINCKRODT LLC, EVERZINC USA
INC., BRIDGETON LANDFILL, LLC,
REPUBLIC SERVICES, INC., ALLIED
SERVICES, LLC, WESTLAKE LANDFILL,
INC., and ROCK ROAD INDUSTRIES, INC.,

              Third-Party Defendants.



                                 THIRD-PARTY PETITION

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) brings this Third-Party Petition against

Mallinckrodt LLC (“Mallinckrodt”), EverZinc USA Inc. (“EverZinc”), Bridgeton Landfill LLC

(“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied”), Westlake

Landfill, Inc. (“Westlake”), and Rock Road Industries, Inc. (“Rock Road”) under Missouri

Supreme Court Rule 52.11.
                                                                                                     Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 2 of 19 PageID #: 2151




                                           PARTIES

       1.      Cotter is a New Mexico corporation with its principal place of business in

Colorado.

       2.      Mallinckrodt is a Delaware limited liability company with its principal place of

business in Missouri. Mallinckrodt is the successor to Mallinckrodt Chemical Works and other

predecessor entities.

       3.      EverZinc is a New York corporation with its principal place of business in North

Carolina. EverZinc is the successor to African Metals Corporation and other predecessor

entities. Upon information and belief, African Metals Corporation was incorporated under the

laws of the State of New York; African Metals Corporation changed its name to Afrimet-Indussa

Inc.; Afrimet-Indussa Inc. changed its name to Sogem-Afrimet Inc.; Sogem-Afrimet Inc.

changed its name to Sogem USA Inc.; Sogem USA Inc. changed its name to Umicore Marketing

Services USA Inc.; and Umicore Marketing Services USA Inc. changed its name to EverZinc

USA Inc.

       4.      Republic is a Delaware corporation with its principal place of business in

Arizona.

       5.      Bridgeton is a Delaware limited liability company with its principal place of

business is in Missouri.

       6.      Westlake is a Missouri corporation with its principal place of business in

Missouri.

       7.      Allied is a Delaware limited liability company with its principal place of business

in Arizona.




                                                2
                                                                                                       Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 3 of 19 PageID #: 2152




       8.        Rock Road is a Missouri corporation with its principal place of business in

Missouri.

                                  JURISDICTION AND VENUE

       9.        This Court has jurisdiction over the subject matter of this cause of action because

the alleged acts took place in St. Louis County, Missouri.

       10.       This Court has jurisdiction over the third-party defendants because, under R.S.

Mo. § 506.500.1, either they have their principal place of business in Missouri or they otherwise

transacted business and committed the alleged acts that form the basis of this cause of action

within Missouri, so that they have purposely availed themselves of Missouri law and could

reasonably anticipate defending a lawsuit in Missouri.

       11.       Venue is proper because, under R.S. Mo. § 508.010.4, Plaintiffs claim they were

allegedly first injured in St. Louis County, Missouri.

                              FACTS COMMON TO ALL COUNTS

                              Direct Allegations Against Defendants

       12.       Plaintiffs filed a Second Amended Class-Action Petition against Defendants, a

copy of which is attached as Exhibit 1 under Missouri Supreme Court Rules 55.10 and 55.12.

       13.       Plaintiffs allege that Defendants are responsible for causing or contributing to

radioactive contamination throughout various areas in St. Louis County, Missouri, including

Coldwater Creek, the St. Louis Airport Site, the Latty Avenue Site, transit routes, and the alleged

Class Area.

       14.       Plaintiffs allege property damage and personal injury as a result of alleged

contamination.




                                                   3
                                                                                                      Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 4 of 19 PageID #: 2153




                        Third-Party Allegations Against Mallinckrodt

                             Mallinckrodt’s Uranium Operations

        15.    Beginning in World War II, and continuing thereafter, Mallinckrodt contracted

with the United States Government in developing the atomic bomb and operated at the St. Louis

Downtown Site and the St. Louis Airport Site.

        16.    The St. Louis Downtown Site consisted of 210 acres of land on the eastern border

of St. Louis, including 44.5 acres occupied by Mallinckrodt and 165 acres of vicinity properties.

The Mallinckrodt portion was also known as the Destrehan Street facility.

        17.    Under its contract with the United States Government, Mallinckrodt developed a

uranium refining process to furnish pure uranium compounds.

        18.    From 1942 through 1957, Mallinckrodt refined uranium ores and concentrates at

the Destrehan Street facility, leading to radionuclide-containing residues that included K-65, C-

701, interim residue plant tailings, scrap metal, Belgian Congo raffinates, Colorado raffinates, C-

slag, leached and unleached barium sulfate, and other materials.

        19.    From 1942 through 1957, Mallinckrodt manufactured, produced, used, handled,

and stored radioactive wastes and other materials at the St. Louis Downtown Site.

        20.    In 1946, the United States Government contracted with the State of Missouri to

store radioactive wastes and other materials produced by Mallinckrodt at the St. Louis Airport

Site.

        21.    From 1946 through 1957, Mallinckrodt had radioactive wastes and other materials

handled and transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        22.    From 1953 until at least 1966, Mallinckrodt operated the St. Louis Airport Site.




                                                 4
                                                                                                       Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 5 of 19 PageID #: 2154




       23.      From 1946 through 1966, Mallinckrodt had radioactive wastes and other materials

used, handled, and stored at the St. Louis Airport Site.

                       Mallinckrodt’s Columbium-Tantalum Operations

       24.      Between 1956 and 1985, Mallinckrodt conducted columbium-tantalum operations

at the Mallinckrodt St. Louis Plant, which generated unreacted ore containing uranium and

thorium and other byproducts.

       25.      After the shutdown and decommissioning of its uranium ore processing unit,

Mallinckrodt extracted columbium-tantalum pentoxide and byproduct uranium oxide from

euxenite ore.

       26.      Mallinckrodt’s columbium-tantalum operations involved the following: crushing

and milling the ore; leaching with hydrofluoric and sulfuric acids; purification by extraction and

precipitation; separation of metal fluorides by fractional crystallization; and washing, drying, and

calcining the metals to several columbium-tantalum products.

       27.      Mallinckrodt had rare earth and thorium residues delivered to the United States

General Services Administration and had the residuals and other materials stored, handled,

processed, transported, and disposed offsite from the columbium-tantalum operations.

       28.      In mid-1961, Mallinckrodt applied a modified process for separation and recovery

of columbium-tantalum products, through which approximately half of the natural thorium in the

feedstock was retained in the insoluble residue (designated as unreacted ore #1) and the

remainder was concentrated in the raffinate after columbium-tantalum extraction.

       29.      Mallinckrodt had the raffinate and unreacted ore #1 stored, handled, processed,

transported, and disposed of from the columbium-tantalum operations.




                                                 5
                                                                                                    Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 6 of 19 PageID #: 2155




       30.     Upon completion of its contract with the United States Government, Mallinckrodt

converted its columbium-tantalum unit into a commercial processing unit utilizing similar

processes, except natural uranium in the columbite ore remained in the acid insoluble residue,

designated as unreacted ore #10.

       31.     Mallinckrodt caused the radioactive wastes and other materials from the

columbium-tantalum operations to be used, stored, handled, transported, and disposed of at

landfills in the St. Louis area, including West Lake Landfill.

       32.     Soil samples and other material analyzed during the remedial investigation

process for West Lake Landfill have marks of Mallinckrodt’s unreacted ore.

                        Mallinckrodt’s Other Commercial Operations

       33.     Mallinckrodt disposed of thorium-containing waste and other effluents from its

commercial operations at the Mallinckrodt St. Louis Plant into local water bodies and sewers in

the St. Louis area, and some of these wastes and effluents were transported to West Lake

Landfill.

       34.     Before the establishment of the St. Louis Metropolitan Sewer District’s Bissel

Point Treatment Plant, Mallinckrodt had its process, storm, and sanitary effluents collected in a

combined sewer system and discharged directly into the Mississippi River, according to the

Formerly Utilized Sites Remedial Action Program of the United States Army Corps of

Engineers.

       35.     After 1970, Mallinckrodt had thorium-containing waste and other effluents

disposed into sewers that went to the St. Louis Metropolitan Sewer District’s Bissel Point

Treatment Plant, according to the Formerly Utilized Sites Remedial Action Program of the

United States Army Corps of Engineers.



                                                 6
                                                                                                        Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 7 of 19 PageID #: 2156




        36.     Mallinckrodt had the unreacted ore containing thorium and uranium disposed into

the plant sewer, which in turn was discharged to the Metropolitan St. Louis Sewer System,

according to Mallinckrodt’s July 1977 Application for Source Material License.

        37.     Mallinckrodt recovered columbium-tantalum (C-T) operations values from

shipping bags, containers, filter press cakes, filter clothes, etc. by first burning, then dissolving

the incinerator ash with the incoming ore, and then disposing the residues via the plant sewer,

which in turn is discharged to the Metropolitan St. Louis Sewer System.

        38.     Mallinckrodt had soluble radionuclides and fine, dispersible solids containing

radionuclides discharged to the plant sewer routinely, which in turn is discharged to the

Metropolitan St. Louis Sewer System, according to Mallinckrodt’s March 1981 Application for

Source Material License.

        39.     Mallinckrodt had loose material (i.e., material not qualifying as regulated source

material but containing low concentrations of uranium and/or thorium) collected, transported,

and disposed of at landfills in the St. Louis area, which, upon information and belief, included

West Lake Landfill.

                           Third-Party Allegations Against EverZinc

        40.     In the 1940s, the United States Government purchased ores containing uranium

from African Metals n/k/a EverZinc.

        41.     African Metals n/k/a EverZinc owned, sold, and distributed pitchblende ores

containing uranium that Mallinckrodt processed at the St. Louis Downtown Site.

        42.     African Metals n/k/a EverZinc retained ownership of the radioactive wastes and

other materials generated by Mallinckrodt except for the uranium content.




                                                   7
                                                                                                 Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 8 of 19 PageID #: 2157




        43.    African Metals n/k/a EverZinc had the radioactive wastes and other materials

stored at the St. Louis Airport Site under lease agreements with the United States Government.

        44.    From approximately 1946 through 1957, the radioactive wastes and other

materials were transported from the St. Louis Downtown Site to the St. Louis Airport Site.

        45.    Upon information and belief, in June 1959, African Metals n/k/a EverZinc

abandoned ownership and disposed of the radioactive wastes and other materials.

        46.    Between approximately May 1966 and December 1966, the radioactive wastes

and other materials abandoned by African Metals n/k/a EverZinc—including leached barium

sulfate residue—were transported by truck from the St. Louis Airport Site to the Latty Avenue

Site.

        47.    Between approximately July 1973 to October 1973, leached barium sulfate

residue abandoned by African Metals n/k/a EverZinc was transported by truck from the Latty

Avenue Site to the West Lake Landfill.

                  Third-Party Allegations Against the Landfill Defendants

        48.    From 1962 to 1988, West Lake Landfill was owned and operated by Westlake.

        49.    During this period, Westlake accepted a variety of demolition material,

manufacturing wastes and byproducts, and sanitary waste at West Lake Landfill.

        50.    Westlake accepted hazardous substances referenced above, as residues from the

production of insecticides and herbicides, waste ink, esters, halogenated intermediates, heavy

metals, oils, wastewater sludges, and asbestos.

        51.    Some of this material also contained the radioactive waste referenced above,

including the 8,700 pounds of leached barium sulfate.

        52.    On July 29, 1988, Laidlaw acquired the stock of Westlake.



                                                  8
                                                                                                  Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 9 of 19 PageID #: 2158




       53.    Westlake changed its name to Laidlaw Waste Systems (Bridgeton) Inc. and

continued to operate West Lake Landfill until 1998.

       54.    Rock Road purchased a portion of West Lake Landfill containing radioactive

waste, and has owned, operated, and managed the portion of West Lake Landfill, and accepted

and disposed of hazardous waste at West Lake Landfill.

       55.    In 1998, Laidlaw Waste Systems (Bridgeton), Inc. (i.e., Westlake) merged into

Bridgeton.

       56.    Rock Road also merged into Bridgeton.

       57.    Bridgeton is the successor-in-interest to Westlake and Rock Road.

       58.    Bridgeton and its sole member (Allied), either directly or through Westlake and

Rock Road, have owned, operated, and managed West Lake Landfill and have accepted and

disposed of hazardous waste at West Lake Landfill.

       59.    In 2008, Republic acquired Bridgeton as the successor-in-interest to Westlake and

Rock Road.

       60.    Since that time, Republic has overseen and directed the environmental activities

of Allied, Bridgeton, Rock Road, and Westlake (collectively, the “Landfill Defendants”) with

respect to West Lake Landfill.

       61.    In 2010, the Landfill Defendants reported to the Missouri Department of Natural

Resources that a portion of West Lake Landfill was experiencing elevated temperatures in

certain gas extraction wells, suggesting subsurface smoldering.

       62.    Shortly thereafter, the smoldering intensified into a subsurface combustion fire,

which caused odors and hazardous substances to be released into the air.




                                                9
                                                                                                    Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 10 of 19 PageID #: 2159




       63.     These emissions persisted through at least 2012, when the State of Missouri tested

the ambient air around West Lake Landfill and determined the air exceeded ambient

concentration levels for benzene and acetaldehyde.

       64.     In 2013, and continuing thereafter, portions of West Lake Landfill have generated

approximately 150,000 gallons each day of leachate, which the Landfill Defendants treated on

site before transporting to disposal facilities in Missouri and Illinois.

       65.     The leachate contained hazardous substances and was released from West Lake

Landfill into the surrounding environment and groundwater.

       66.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have accepted and disposed of radioactive waste and other hazardous substances at

West Lake Landfill.

       67.     The Landfill Defendants, either directly or through their subsidiaries and

predecessors, have caused or contributed to the improper handling, storage, or disposal of the

radioactive waste and other hazardous substances at West Lake Landfill.

                                     COUNT 1
                       CONTRIBUTION AGAINST MALLINCKRODT

       68.     Cotter adopts by reference the allegations in Paragraphs 1 through 67.

       69.     Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

       70.     Mallinckrodt owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.

       71.     Mallinckrodt failed to use reasonable care that resulted in releases from the St.

Louis Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill,




                                                  10
                                                                                                          Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 11 of 19 PageID #: 2160




Mallinckrodt St. Louis Plant, and transit routes into the surrounding environment, including the

alleged Class Area.

        72.       In the unlikely event that Cotter is found liable to Plaintiffs’ alleged damages,

which Cotter denies, Mallinckrodt is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Mallinckrodt for any alleged damages that may be assessed against Cotter.

        73.       In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Mallinckrodt, thereby barring any such recovery

against Cotter.

        74.       In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Mallinckrodt and any such liability must be

limited to the percentage of fault apportioned to Cotter.

        75.       Accordingly, the jury should award Cotter against Mallinckrodt any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                        COUNT 2
                             CONTRIBUTION AGAINST EVERZINC

        76.       Cotter adopts by reference the allegations in Paragraphs 1 through 67.

        77.       Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

        78.       EverZinc owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




                                                   11
                                                                                                        Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 12 of 19 PageID #: 2161




          79.   EverZinc failed to use reasonable care that resulted in releases from the St. Louis

Downtown Site, the St. Louis Airport Site, the Latty Avenue Site, the West Lake Landfill, and

transit routes into the surrounding environment, including the alleged Class Area.

          80.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, EverZinc is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from EverZinc for any alleged damages that may be assessed against Cotter.

          81.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of EverZinc, thereby barring any such recovery against

Cotter.

          82.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of EverZinc and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          83.   Accordingly, the jury should award Cotter against EverZinc any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 3
                           CONTRIBUTION AGAINST REPUBLIC

          84.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          85.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          86.   Republic owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.

                                                 12
                                                                                                        Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 13 of 19 PageID #: 2162




          87.   Republic failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          88.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Republic is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Republic for any alleged damages that may be assessed against Cotter.

          89.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Republic, thereby barring any such recovery against

Cotter.

          90.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Republic and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          91.   Accordingly, the jury should award Cotter against Republic any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     COUNT 4
                          CONTRIBUTION AGAINST BRIDGETON

          92.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          93.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          94.   Bridgeton owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




                                                 13
                                                                                                         Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 14 of 19 PageID #: 2163




          95.    Bridgeton failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          96.    In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Bridgeton is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Bridgeton for any alleged damages that may be assessed against Cotter.

          97.    In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Bridgeton, thereby barring any such recovery against

Cotter.

          98.    In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Bridgeton and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          99.    Accordingly, the jury should award Cotter against Bridgeton any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                       COUNT 5
                              CONTRIBUTION AGAINST ALLIED

          100.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          101.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          102.   Allied owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




                                                  14
                                                                                                         Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 15 of 19 PageID #: 2164




          103.   Allied failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          104.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Allied is a joint tortfeasor who is liable, in whole or in part, for Plaintiffs’

alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Allied for any alleged damages that may be assessed against Cotter.

          105.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Allied, thereby barring any such recovery against

Cotter.

          106.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Allied and any such liability must be limited to

the percentage of fault apportioned to Cotter.

          107.   Accordingly, the jury should award Cotter against Allied any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 6
                           CONTRIBUTION AGAINST ROCK ROAD

          108.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          109.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          110.   Rock Road owed Plaintiffs a duty as alleged in the Second Amended Class-

Action Petition.




                                                  15
                                                                                                         Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 16 of 19 PageID #: 2165




          111.   Rock Road failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          112.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Rock Road is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Rock Road for any alleged damages that may be assessed against Cotter.

          113.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Rock Road, thereby barring any such recovery against

Cotter.

          114.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Rock Road and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          115.   Accordingly, the jury should award Cotter against Rock Road any amount

assessed against Cotter that is more than Cotter’s percentage of fault and award Cotter such

proportion of the total sum paid as corresponds to Cotter’s percentage of fault.

                                      COUNT 7
                           CONTRIBUTION AGAINST WESTLAKE

          116.   Cotter adopts by reference the allegations in Paragraphs 1 through 67.

          117.   Cotter denies fault for Plaintiffs’ alleged damages and preserves all affirmative

and other defenses.

          118.   Westlake owed Plaintiffs a duty as alleged in the Second Amended Class-Action

Petition.




                                                  16
                                                                                                         Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 17 of 19 PageID #: 2166




          119.   Westlake failed to use reasonable care that resulted in releases from West Lake

Landfill and transit routes into the surrounding environment, including the alleged Class Area.

          120.   In the unlikely event that Cotter is found liable for Plaintiffs’ alleged damages,

which Cotter denies, Westlake is a joint tortfeasor who is liable, in whole or in part, for

Plaintiffs’ alleged damages, and Cotter is entitled to contribution (or to the extent available,

indemnification) from Westlake for any alleged damages that may be assessed against Cotter.

          121.   In the unlikely event that any damages are assessed against Cotter, which Cotter

denies, any such damages were caused, in whole or in part, by the conduct, fault, acts,

carelessness, omissions, and negligence of Westlake, thereby barring any such recovery against

Cotter.

          122.   In the unlikely event that any fault is assessed against Cotter, which Cotter denies,

any such fault must be compared to the fault of Westlake, and any such liability must be limited

to the percentage of fault apportioned to Cotter.

          123.   Accordingly, the jury should award Cotter against Westlake any amount assessed

against Cotter that is more than Cotter’s percentage of fault and award Cotter such proportion of

the total sum paid as corresponds to Cotter’s percentage of fault.

                                     REQUEST FOR RELIEF

          124.   WHEREFORE, Cotter Corporation (N.S.L.) requests judgment in its favor on its

Third-Party Petition against Mallinckrodt LLC, EverZinc USA Inc., Bridgeton Landfill LLC,

Republic Services, Inc., Allied Services, LLC, Westlake Landfill, Inc., and Rock Road

Industries, Inc., an award of court costs, and any further relief as this Court deems just and

proper.




                                                  17
                                                                                               Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 18 of 19 PageID #: 2167




                               DEMAND FOR JURY TRIAL

      Cotter Corporation (N.S.L.) demands a trial by jury of all issues so triable by right.


      Dated: June 30, 2020                  Respectfully submitted,

                                            /s/ Brian O. Watson
                                            RILEY SAFER HOLMES & CANCILA LLP
                                            Edward Casmere, #64326MO
                                            Brian O. Watson, #68678MO
                                            Jennifer Steeve, Pro Hac Vice
                                            70 W. Madison St., Ste. 2900
                                            Chicago, Illinois 60602
                                            (312) 471-8700 (main)
                                            (312) 471-8701 (fax)
                                            ecasmere@rshc-law.com
                                            bwatson@rshc-law.com
                                            jsteeve@rshc-law.com
                                            docketdept@rshc-law.com

                                            SWANSON, MARTIN & BELL, LLP
                                            Marcie J. Vantine, #56860MO
                                            mvantine@smbtrials.com
                                            One Bank of America Plaza
                                            800 Market Street, Suite 2100
                                            St. Louis, MO 63101
                                            314.242.0903 (telephone)
                                            314.242.0990 (facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            COTTER CORPORATION (N.S.L.)




                                               18
                                                                                                 Electronically Filed - St Louis County - June 30, 2020 - 03:43 PM
Case: 4:20-cv-01227-JAR Doc. #: 14 Filed: 09/11/20 Page: 19 of 19 PageID #: 2168




                                 CERTIFICATE OF SERVICE

         I certify that on June 30, 2020, these papers were filed through the Missouri Court’s

eFiling system, which will automatically serve an electronic copy upon all counsel of record.

                                              Respectfully submitted,

                                              /s/ Brian O. Watson
                                              RILEY SAFER HOLMES & CANCILA LLP
                                              Edward Casmere, #64326MO
                                              Brian O. Watson, #68678MO
                                              Jennifer Steeve, Pro Hac Vice
                                              70 W. Madison St., Ste. 2900
                                              Chicago, Illinois 60602
                                              (312) 471-8700 (main)
                                              (312) 471-8701 (fax)
                                              ecasmere@rshc-law.com
                                              bwatson@rshc-law.com
                                              jsteeve@rshc-law.com
                                              docketdept@rshc-law.com

4815-2793-5930, v. 6




                                                 19
